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           ORDERED in the Southern District of Florida on December 12, 2024.




                                                                      Laurel M. Isicoff, Judge
                                                                      United States Bankruptcy Court
___________________________________________________________________________




                                        UNITED STATES BANKRUPTCY COURT
                                         SOUTHERN DISTRICT OF FLORIDA
                                                 MIAMI DIVISION
                                                www.flsb.uscourts.gov

           In re:                                                      Chapter 11

           SHIFTPIXY, INC. et, al.1                                    Case No. 24-21209-LMI

                 Debtors.                                              (Jointly Administered)
           _______________________________/

           ORDER GRANTING DEBTORS’ EX-PARTE MOTION TO SHORTEN TIME FOR THE
            HEARING ON THE EXPEDITED MOTION OF THE DEBTORS FOR THE ENTRY OF
           AN ORDER CONVERTING THE DEBTORS’ CHAPTER 11 CASES TO CASES UNDER
             CHAPTER 7 OF THE BANKRUPTCY CODE UPON THE CLOSING OF THE SALE
           [ECF NO. 109] AND SCHEDULING HEARING FOR DECEMBER 16, 2024 AT 9:30 A.M.

                    THIS MATTER came before the Court on the Ex-Parte Motion to Shorten Time for the

           Hearing on Expedited Motion of the Debtors for the Entry of an Order Converting the Debtors’

           1
             The Debtors are: (i) Shiftpixy, Inc.; (ii) Shiftpixy Staffing, Inc.; and (iii) ReThink Human Capital Management,
           Inc. The address of the Debtors is 1401 NW 25th Street, Miami, FL 33142.
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Chapter 11 Cases to Cases Under Chapter 7 of the Bankruptcy Code Upon the Closing of the

Sale [ECF No. 109] and Scheduling Hearing for December 16, 2024 at 9:30 a.m. [ECF No. 112]

(the “Motion”). The Court has reviewed the Motion and pleadings in this case, accordingly it is,

       ORDERED that:

       1.     The Motion is GRANTED.

       2.     The hearing on the Expedited Motion of the Debtors for the Entry of an Order

Converting the Debtors’ Chapter 11 Cases to Cases Under Chapter 7 of the Bankruptcy Code

Upon the Closing of the Sale [ECF No. 109] is scheduled for hearing on December 16, 2024 at

9:30 a.m. at the United States Bankruptcy Court, C. Clyde Atkins U.S. Courthouse, 301 N.

Miami Avenue, Courtroom 8, Miami, FL 33128.

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Submitted by:
Isaac M. Marcushamer, Esq.
DGIM Law, PLLC
Counsel for the Debtors
2875 NE 191st Street, Suite 705
Aventura, FL 33180
Phone: (305) 763-8708
Email: isaac@dgimlaw.com


[Isaac M. Marcushamer, Esq. is directed to provide a copy of this signed Order to all parties of
record and to file a Certificate of Service conforming with Local Rule 2002-1(F), within 3 days
of entry of this Order]




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